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                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 17-6602


        UNITED STATES OF AMERICA,

                            Plaintiff - Appellee,

                     v.

        TERRANCE LAMAR WIGGINS, a/k/a T-Wig, a/k/a Barnwell,

                            Defendant - Appellant.



        Appeal from the United States District Court for the District of South Carolina, at Aiken.
        Margaret B. Seymour, Senior District Judge. (1:12-cr-00333-MBS-1; 1:15-cv-04013-
        MBS)


        Submitted: September 28, 2017                                     Decided: October 2, 2017


        Before WILKINSON, MOTZ, and KING, Circuit Judges.


        Dismissed by unpublished per curiam opinion.


        Terrance Lamar Wiggins, Appellant Pro Se. Stanley D. Ragsdale, Julius Ness
        Richardson, Assistant United States Attorneys, Columbia, South Carolina, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               Terrance Lamar Wiggins seeks to appeal the district court’s order denying relief

        on his 28 U.S.C. § 2255 (2012) motion. The order is not appealable unless a circuit

        justice or judge issues a certificate of appealability. 28 U.S.C. § 2253(c)(1)(B) (2012). A

        certificate of appealability will not issue absent “a substantial showing of the denial of a

        constitutional right.” 28 U.S.C. § 2253(c)(2) (2012). When the district court denies

        relief on the merits, a prisoner satisfies this standard by demonstrating that reasonable

        jurists would find that the district court’s assessment of the constitutional claims is

        debatable or wrong. Slack v. McDaniel, 529 U.S. 473, 484 (2000); see Miller-El v.

        Cockrell, 537 U.S. 322, 336-38 (2003).           When the district court denies relief on

        procedural grounds, the prisoner must demonstrate both that the dispositive procedural

        ruling is debatable, and that the motion states a debatable claim of the denial of a

        constitutional right. Slack, 529 U.S. at 484-85.

               We have independently reviewed the record and conclude that Wiggins has not

        made the requisite showing. Accordingly, we deny a certificate of appealability and

        dismiss the appeal.    We dispense with oral argument because the facts and legal

        contentions are adequately presented in the materials before this court and argument

        would not aid the decisional process.

                                                                                       DISMISSED




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